Case 1:02-cv-03965-BSJ-KNF Document 69-2 Filed 06/06/05 Page 1 of 19

EXHIBIT “A”
Case 1:02-cv-03965-BSJ-KNF Document 69-2 Filed 06/06/05 Page 2 of 19

Issued by the
UNITED STATES DISTRICT COURT

7

AQ AB (Rev. #194) Subpoena ina Civil Case - SDNY WEB 4/99

ae SOUTHERN

CAMPINAS FOUNDATION (a/k/a Campinas
Stiftung, Vaduz),

DISTRICT OF NEW YORE

SUBPOENA IN A CIVIL CASE
V.
CARL SIMONI, SSP CAPITAL PARTNERS, LTD.,
ANGELO J, MARING, FORTHS CAPITAL PARTNERS,
LTD., CONURE CONSULTING CORP., CASINO
PLAYERS INTERNATIONAL, LTO. and JOMN DOES 1
THROUGH 10
TO! Michael Meisel, Esa.
Cole Shotz Meisel Forman & Laonard PA and 787 ard Avene
225 Main Street, Court Plaza North at East 48th Street
Fackensack., NJ 07602 New York. New York 10017
cl YOu ARE COMMANDED to appear in the United States District Court at the place, date, and time specified below to testify
in the above case,

PLAGE OF TESTIMONY

CASE NUMBER: ? 02-00-3965

COURT RCM

DATE AND TIME

| YOU ARE COMMANDED to appear at the place, date, and time specified below to tastify at the taking of a depasition in
the above case.

OE DER BATE AND TIME
Wolff & Samson (242) 873-0572 November 18, 2003
140 Broadway, New York, NY_ 10005 at PO am

| YOU ARE COMMANDED to produce and permit inspection and copying of the follawing documerits or objects at the place,
date, and tine specified below (list documents or objects):
SEE ANNEXED SCHEDULE A

DAE AND TIME

November 78, 2003
at 1050 4am

PLACE
Wolf & Samsan

140 Broadway, New York, NY 10005 (212) 973-0572

C] YOU ARE COMMANDER to permit inspection of the following premises at the date and time specified below.

PREMIBES

DATE AN(D Thm,

Any organization not a party to this suit that is subpoenaed for the taking of a deposition shall designate one or more
officers, directors, or managing agents, ar other persons who consent to testify on its behalf, and may set forth, for each person

designated, the mallers on which the person wii testify. Federal Rules of Civil Procedure, 30(b}(6).
J Zi

DATE

October 20, 2003

_ ) pn 5, FOR PLAINTIFE OF DEFENDANT}
~ 4 h ¢ May fey bef Dele dak

ISSUING OFFICER'S NAME, ADTIRESS AND PHONE NUMBER
Cee J. Mendelson, Esq.
“400 Garden City Plaza, Garden City, NY 11530

(Se Hagle 25, Pecteha) Abby al Civil Pracocure, Ports G & Dor Meverse)

§16-873-2000

* It action is pending i: district other than district of issuance, state distriel under case number,
Case 1:02-cv-03965-BSJ-KNF Document 69-2 Filed 06/06/05

AQ 88 fRev, 1/94) Subpoena ina Civil Gase ~ SDNY WEB 4/99

Page 3 of 19

PROOF OF SERVICE

DATE

SERVED

PLACE

SERVED ON (PRINT NAME)

MANNER OF SERVIGE

SERVED BY (PRINT NAME)

TITLE

DECLARATION OF SERVER

| declare under penalty of perjury under the laws of the United States of America that the foregoing information contained

in the Proof of Service is true and correct.

Executed on

RATE

SIGNATURE OF SERVER

“ADDRESS OF SERVER

Rule 45, Federal Rules of Civil Procedure, Parts C & D:

{c) PROTECTION OF PERSONS SUBJECT TO SUBPOENAS.

(1) A party or at attorney responsible for the issuance and service of a
subpoend shall take reasonable steps to avoid imposing undue burden or
expense ora person subject to that subpoana. The court on behalf of which the
subpoena wae issued shall enforce this duty and inipose upon the party or
attorney in breach af this duty an appropriate sanction whieh may include, but is
nat limited to, fost aarnings arid reasonable aitomey's fee.

(2) (A) A perso cormimanded te produce and pernit inspection anrt
copying of designated books, Papers, documents or tangible things, or
inspection of premises need not appear in person at the place of production or
inspection uriless commanded to appear for deposition, hearing or tral,

(B) Subjeot te paragraph (07) af this role a person commanded
to produce and partrit inspection and copying may, within 14 days after service
of subpoena or before the time specified for compliance If such timeis less than
14 days after service, serve upon the party or atomey designated in the
subpoena written objection to inspection or copying of any or all of the
designated materials or of the premises. 1 objection ts made, the pary serving
the subpoena shail not be entitled to inspect and copy materials ar inspect the
premises except pursuant te ar order of the court by which the subpoena was
issudd. [Fobjection has been made, the pany serving the subpoena may, upon
notice te the porman commended to produce, move at aay ime for an order lo
compel the production. Such an order to corpel production shall protect any
person who is net a party or an Officer of a party from significant expense
resulting fram the inspection and copying commanded.

(3) (A) On timely motion, the court by which a subpoena was issued
shalt quash er modify the subpoena # it

() fails ta allow reasonabie tire far carnpliance,
. (i} requires a person whe is nota party of an diflicer of a party
to travel te a placa more then 100 fn#las from the piace where that person
resides, is ernploved or regulary trangacts business in persan, except that,

subject to the provisions of clause (¢)(36)(iti} of this rule, such a person may
in order to attend trial be cornmanded to travel from any such place within the
state in which the tral is held, or

(ii) requires disclosure of privileged ar ather protected matter
and fo exception or waiver applies, or

(¥) subjects 2 person to undue burden.

(B) fa subpoena

Gi} requires disclosure of a trade secret or other contiderttial
research, development, or commercial internation, oF

{i} «requires disclosure of an unretained expert's opinion or
information not describing specific avents or occurrerces in dispute and
resuiting from the expert's study made not at the request of any party, or

(HE requires at precun whe ip gt per'ly oF at officer of a
party to incur substantial expense to travel more than 100 miles te attend trial,
the cout fay, to protect a person subject to of affected by the subpoena, quash
or modify the subpoena, or, if the party in whose behalf the subpoena ts Issued
shows a suistantial meed for the testimony of material that pannot be otherwise
met without undue hardship and assures that the person to whom the subpoena
is addrossed will he reasonably compendcated, the court may order appearance
or production only upen specified conditions.

(d) DUTIES IN RESPONDING TO SUBPOENA.

(1} A persan responding id a subpoena to produce documents shall
produce them as they are Kept in the usual course of business or shall organize
and label them to correspond with the categories in the derniand.

(2 Wher information subject toa subpanna is withheld on 4 alain thet
it is privileged or subject to protection a8 tial preparation matenats, the clair
shail be made expressly anc shall be supported by 4 description of the nature of
the dacuments, communications, or things not produced that is sufficient to
enable the demanding party to contest the chain.
Case 1:02-cv-03965-BSJ-KNF Document 69-2 Filed 06/06/05 Page 4 of 19

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORE

dem a su mmm x
CAMPINAS FOUNDATION (a/k/a Campinas
Stiftung, Vaduz),

Index No. 02 CV 3965

Plaintiff,
SCHEDULE "A" TO SUBPOENA
~ against - TO MICHAEL MEISEL

CARL SIMONI, SSP CAPITAL PARTNERS,
LTD., ANGELO J. MARINO, FORTIS CAPITAL
PARTNERS, LTD., CONURE CONSULTING
CORP,, CASINO PLAYERS INTERNATIONAL,
LTD. and JOHN DOES | THROUGH 10,

Defendants.
~ x

DEFINITIONS

l, The term "Plaintiff" or "Campinas", as used herein, shall mean Campinas Foundavon
a/k/a Campinas Stiftang, Vaduz and/or the entity by whatever name il is known which is the Plaintilf

identified in the Complaint.

a The term "Simoni" as used herein, shall mean defendant Carl Simom.

3 The term "SSP Capital" as used herein, shall mean defendant SSP Capital Partners,
Lid.

4, The term "Marino" as used herein, shall mean defendant Angelo J. Marino.

5. The term "Fortis" as used herein, shall mean defendant Fortis Capital Partners, Ltd.

6. The term "Redwood" as used herein, shall mean Redwood Investment Company, Inc.,

a former shareholder of Aviation Investors International Inc. ("AIG"), and any affiliates of
Redwood, including Omni Enterprises, Inc. ("Omni").

7. The term "Lensi” as used herein, shall mean Alberto Lensi.
Case 1:02-cv-03965-BSJ-KNF Document 69-2 Filed 06/06/05 Page 5 of 19

5. The term "“Eckes" a5 used herein, shall mean Heidi Eckes-Chantre,
9, ‘The term "Blackbird" as used herein, shall mean Blackbird Aviation, Ltd.

10. The term "Conure" as used herein, shall mean defendant Conure Consulting Corp.

1. ‘The term "Casino" as used herein, shall mean defendant Casino Players International,
Ltd.
12. The term “You” and “Your” shall mean the person to whom this subpoena is
addressed including Michael Meisel, Esq. and the law firm of Cole Shotz Meisel Forman & Leonard
P.A. and any winployce or agent thereof

13. The term "document" as used herein has its customary broad meaning and shall
include all means by which information and communications are preserved and shall include without
limitation the original and any drafts and non-identical copies of all written, printed or typewritten
or other recorded materials such as correspondence, memoranda (interoffice and otherwise),
messages, business records, notes, minutes of meetings, transcripts, diaries, appointment or calendar
books, contracts, promissory notes, checks, maps, diagrams, illustrations, magazines, newspaper
and/or other publications, photographs, telegrams summaries, written analyses, reports, Hsts,
invoices, purchase orders, shipping documents, financial statements, letters of credit, tape recordings,
transcriptions or recordings, books, telephone records, computer cards, printouts, tapes, disks or
retrieval listings, together with programs, program documentation and instructions necessary lo
utilize or retrieve such information; and all other mechanical or electronic means of storing or
recording information.

14. The terms "referring", "refer", "relate" or "relating to", as used herein, shall mean

reflecting, discussing, constituting, comprising, comiaining, setting forth, disclosing, showing,
Case 1:02-cv-03965-BSJ-KNF Document 69-2 Filed 06/06/05 Page 6 of 19

describing, explaining, summarizing, analyzing, projecting, referring or pertaining to or having any
direct or indirect connection with.

INSTRUCTIONS

l. This Subpoena covers all information in your possession, custody and control
including, het not Hmited to, information in the possession of its past and present officers,
employees, agents, servants, attorneys or other persons directly or indirectly employed or retained
by them, or anyone else acting on its behalf or otherwise subject to their contro] and any merged,
consolidated or acquired predecessor or successor, parent, subsidiary, division or affiliate.

2. Documents submitted pursuant to this Subpoena should be grouped and labeled
according to the individual paragraph(s) of the document request to which the documents respond.
If any document is responsive to more than one paragraph, you may provide a single copy indicating
the paragraphs to which it is responsive in licu of providing multiple copies.

3 Documents are to be produced in full unexpurgated form. Redactions and deletions
should be clearly indicated as such. Where anything has been redacted or deleted from a document
produced in response to this Subpoena:

(a) specify the nature of the material deleted;
(b) specify the reason for the deletion; and
(c) identify the person responsible for the deletion.

4. The singular and the masculine as used herein shall be construed as the plural of the

feminine (or neuter), respectively, as the circumstances and context make appropriate in order to

provide the fullest possible answer to each subpoena demand.
Case 1:02-cv-03965-BSJ-KNF Document 69-2 Filed 06/06/05 Page 7 of 19

s, The disjunctive, "or", shall be read as the conjunctive, "and", and vice verga, in order
to provide the fullest possible response to each request.

6, Each subpart of a request shall be answered with the same force and effect as if it
were a subpoena demand.

7, H you are unable to identify or produce any documents because said documents have
been lost or destroyed, set forth a description of the document to the fullest extent possible and state
the date of its loss or destruction, the persons responsible therefor and the reasons therefor,

g. Whenever you are unable to produce documents in response to a request, state the
steps taken to locate responsive documents.

9, If a claim of privilege is asserted as to the production of any document or portion
thereof or to disclosing any information contained therein, please (1) identify such information or
document with sufficient particularity so as to allow this matter to be brought before the court for
resolution if necessary; (2) state the nature of the privilege(s) asserted; and (3) state in detail the
underlying factual basis for the claim of privilege. You must state:

(i) the tithe of the document;

(ii) ~~ the nature and type of the document,

(iii) the general subject matter of the document;

(iv) the date of the document;

(v) the author or sender and addressee of the document; and
(vi) the name of each person to whorn the original or a copy was

shown or circulated, including the names appearing or any
circulation list relating to the documents.
Case 1:02-cv-03965-BSJ-KNF Document 69-2 Filed 06/06/05 Page 8 of 19

10. To the extent that you consider any of the following subpoena dernands objectionable,
produce documents responsive to answer so much of each demand, and each part thereof'as is not
objectionable, 1. your view, and separately state that part of each demand as to which you raise
objection and each ground for each such objection. ‘This instruction does not, however, alter your
time to object as set forth in the Federal Rules.

i},  Tfany document requested is no longer in your possession, custody or control, state:

(a) what was done with the document;
(b) when the document was made;
(c) the identify and address of the current custodian of the document;

(d) the person(s) who made the decision to transfer or dispose of the
document; and

(¢) the reasons for the transfer or disposition.

1?. Unless otherwise expressly stated, documents are to be produced which are dated,
created during or refer to the period January 1, 2000 to date.

13, This Subpoena is continuing in nature. Ef any responsive document is obtained after
ihe date of your response to this Subpoena, it 1s to be pro mptly furnished to the undersigned pursuant
to this Subpoena within ten (10) days after discovery, but in no event less than thirty (30) days before
the trial of this action.

DOCUMENTS TO BE PRODUCED

l. All documents in your possession, custody, or control, including notes and
memoranda, referring or relating fo conversations or meetings between you and (1) Campinas

Foundation (a/k/a Campinas Stiftung, Vaduz), (2) Jerrold Rosen, (3) Jeffrey Wild, Esg., (“Wild”),
Case 1:02-cv-03965-BSJ-KNF Document 69-2 Filed 06/06/05 Page 9 of 19

‘

Cindy Salvo, Esq. (“Salvo”) or any representative af Lawenstein & Sandler, P.C. (‘Lowenstein”),
(4) Car] Simoni, (5) Karen Meyers, Charles Kessler or (7) or any attorney for any of the above
concerning (i) the arbitration between AIS Ltd and Aviation Investors International Group, Ltd.
(“ANG”) et al and/or (the “Arbitration”} (AAA Case No. 507181 0039900) or (il) the subject matter

of this action, including, but not limited to, (a} SSP, (b) Redwood, (c) Redwood’ claim for payment

of the balance of its shareholder buyout, (d) the purpose of the payments by Campinas to SSP in
September, 2000, (¢) any representations by Simoni and/or Karen Meyers to Lensi concerning the
payments by Campinas to SSP, or (f) the assignment of claims hy AHG to Campinas.

2. All documents in your possession, custody or control sent by you or received by
you from any person other than AIG, Blackbird, Alberto Lensi or Heidi Eckes-Chantré or any parent
or subsidiary of either conceming (j) the Arbitration and/or Gi) the subject matter of this action,
including, but not limited to, the subjects listed in (a) ~ (f) above.

3. All documents in your possession, custody or contro] sent by you or received by
you from any person concerning {1) the Arbitration of which Rosen, Wild, Salvo, Lowenstein,
Simoni, Kessler or Meyers or any representative of or attorney for Campinas 1s the author, signatory,
recipient or carbon addressee and/or (ii) the subject matter of this action, including, but not limited
to, the subjects listed in (a) - (f) above of which Rosen, Wild, Salvo, Lowenstein, Simoni, Kessler
or Meyers or any representalive of ur atluiney for Campinas 18 the author, signatory, recipient or
carbon addressee.

4. Ail documents subpoenaed by Lowenstein & Sandler, P.C. in this action,

6
Case 1:02-cv-03965-BSJ-KNF Document 69-2 Filed 06/06/05 Page 10 of 19

Dated: Garden City, New York
October 20, 2003
MORITT HOCK HAMROFF & HOROWITZ LLP
Attorneys for Defendants

‘
“ Vv

Lee J. Mendeléon, Esq.
400 Garden (ity Plaza

Garden Cit¥’ NY 11530
(516) 873-2000

PAGS PCapiahGocs\Schecule AME, wht
Case 1:02-cv-03965-BSJ-KNF Document 69-2 Filed 06/06/05 Page 11 of 19

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AQ 88 (Rev, 1/04) Subpoena Ina Civil Caves - SDNY WES 4/oG

Issued by the
UNEFTED STATES DISTRICT COURT

CAMPINAS FOUNDATION (a/k/a Campinas
Stiftung, Vaduz),

DISTRICT OF NEW YORK

SUBPOENA IN A CIVIL CASE

V.
CARL SIMONI, SSP GAPIFAL PARTNERS, LTD., CASE NUMBER; *  Q2sC\V-3905
ANGELO J. MARINO, FORTIS CAPITAL PARTNERS,
LTD., CONURE CONSULTING CORP., CASINO
PLAYERS INTERNATIONA! ,? TD, and. JOHN DOFS 1
THROUGH 10
TO: ote Shotz Meise! Formam & Leonard PA
7&7 ard Avenue
at East 48th Street
New York. New York 10017
[| You ARE COMMANDED to appear in the United States District Court at the place, date, and time specified below to testify
in the above case.

PLAGE OF TESTIMONY

COURTROOM

DATE AND TIME

YOU ARE COMMANDED to appear at the place, date, and time specified below to testify at the taking of a deposition in
the above case,

LACE OF DEPOSITION

Woitf & Samson
+40 Broadway, New York, NY 10005

(242) 973-0572

DATE ANID THE

Novernber 18, 2003
at 20-00 3.1,

a] VOU ARE COMMANDED te produce and permit inspection and copying ol the following documenis or objects at the place,
date, and time specified below (list documents or objects}:

SEE ANNEXED SCHEDULE A

PLAGE
Wolff & Samsun
140 Broadway, New York, NY 10005

(212) 973-0572

DATE AND THE

November 18, 20034
ati0:00.a.m.

[| YOU ARE COMMANDED to permit inspection of the following premises at the date and time specified below.

PREMISES

DATE AND TiME

Any organization not a party to this suit thal ia subpoenaed for the taking of a deposition shall designate one er more
officers, directors, of managing agents, of other persons who consent te testify on its behalf, and may set forth, for each person
designaled, the matters on which the pergon will testy. Foderal Rules of Civil Procedure, 30{b}(6}.

at
ISSUING OFFIGER sayrenyee TTLE 7 |: alt

ae ite

NEY FOR PLAINTIFF OR DEFENDANT)

Has tas Ae Nefeakovh
\

OATE

October 20, 2003

TESUING OFFICER'S NAME, ALORESS tv PHONE ALIMBER.

Lee J. Mendetson, Esq.

546-873-2000

400 Garden Gity Plaza, Garden City, NY 11530

tio Rule 4h, Peudered Autor uf Givi Proccdurs, Porte (2 han faworses)

’ action is pending in distict otter than district of issuance, state district under case number.
Case 1:02-cv-03965-BSJ-KNF Document 69-2 Filed 06/06/05 Page 12 of 19

AQ BS (Rev, 1/94) Subpoens Ing Civil Gune : DAY WEB 4/99

FROOF OF SERVICE

DATE

SERVED

PLACE

SERVED ON (PRINT NAME)

MANNER GF SERVIGE

StevED BY (PRINT NAME)

THLE

DECLARATION OF SERVER

i dectare under penalty of perjury under the laws of ine United States of Armerica thal dhe foregeing infariration conlais wd

in the Proof of Service #5 irue and correct,

Executed on
DATE

SIGNATURE OF SERVER

ADDRESS OF SERVER

Rule 45, Federal Rules of Civil Procedure, Parts C & D:

(c) PROTECTION OF PERSONS SUBJECT TO SUBPOENAS.

(1) Aparty or an attorney responsible for the issuance and service of a
subprena shall take reasonable steps to avoid iiposing undue burden ar
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subpoena was issued shail enforce this duty and impose upon the party of
attomey In breach of this duty an appfopn late sanction which may include, but is
nal limited to, fost earnings and reasonable attorney's fee,

(2) (A) A person commanded to produce and partnlt inspection and
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{A} Subiect to paragraph (dy?) of this rule, a persan cammanded
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fii) requires a person whe is nota party or ar officer ola party

to Havel tna place more than 100 miles from the place where that person
resides, is eniployed or reguiety transacts business in person, except that,

subject to the provisions of clause (0)(4)(B)(ii) of this rule, such a person tray
in order to attend trial be commanded to travel fram any such place within the
state in which the trial ls held, or

(ii) requires disclosure of prvieged or other protected matter
and no exception or waiver applies, or

(v¥} subjects a parton to undue burden.

(AB) Wa subpoena

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(i) = requires disclosure of an unfetained expert's opinion or
information not describing specific events ar occurrences in dispute and
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(iii) requires a parson who js not a party of ar officer of a
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(d) DUTIES IN RESPONDING TO SUBPOENA.

(1) A person responding to a subpoena to produce documents shall
produce they #5 they are kept in the usual course of business or shall organize
and Jabel thera to correspond with the oategodes in the demand.

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the documents, communications, ar things not produced that is sufficient to
enable the demanding party to contest the claim.
Case 1:02-cv-03965-BSJ-KNF Document 69-2 Filed 06/06/05 Page 13 of 19

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

he mmeritasimmmmc se mesnaiunmnn uaa x
CAMPINAS FOUNDATION (a/k/a Campinas
Stiftung, Vaduz),
Index No. 02 CV 3965
Plaintiff,
SCHEDULE "A" TO SUBPOENA
- against - TO COLE SCHOTZ .

CARL SIMONI, SSP CAPITAL PARTNERS,
LTR., ANGELO J. MARINO, FORTIS CAPITAL
PARTNERS, LTD., CONURE CONSULTING
CORP., CASINO PLAYERS INTERNATIONAL,
LTD, and JOHN DOES | THROUGH 10,

Defendants.
tunstmimmeameraeabauitin ae x

DEFINITIONS

l. The term "Plaintiff’ or "Campinas", as used herein, shall mean Campinas Foundation
a/k/a Campinas Stiftung, Vaduz and/or the entity by whatever name it is known which is the Plaintiff

identified in the Complaint.

2, The term "Simoni" as used herein, shall mean defendant Cari Simon.

3, The term "SSP Capital” as used herein, shal] mean defendant SSP Capital Partners,
Ltd.

4 The term "Marino" as used herein, shall mean defendant Angelo J. Marino.

§, ‘The term "Fortis" as used herein, shall mean defendant Fortis Capital Partners, Lad,

6. The term "Redwood" as used herein, shall mean Redwood Investment Company, Inc.,

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Case 1:02-cv-03965-BSJ-KNF Document 69-2 Filed 06/06/05 Page 14 of 19

&, The tem "Eckes" as used herein, shall mean [leidi Eckes-Chantre.
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11. The term "Casino" as used herein, shall mean defendant Casino Players International,
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13. The term “document” as used herein has its customary broad meaning and shall
include all means by which information and communications are preserved and shall include without
limitation the original and any drafts and non-identical copies of all written, printed or typewritten
or other recorded materials such as correspondence, memoranda (interoffice and otherwise),
messages, business records, notes, minutes of meetings, transcripts, diaries, appointment or calendar
books, contracts, promissory notes, checks, maps, diagrams, illustrations, magazines, newspaper
and/or other publications, photographs, telegrams summaries, written analyses, reports, lists,
invoices, purchase orders, shipping documents, fmancial statements, letters of credit, tape recordings,
transcriptions OT recordings, books, telephone records, computer cards, printouts, tapes, disks or
retrieval listings, together with programs, program documentation and instructions necessary to
utilize or retrieve such information; and all other mechanical or electronic means of storing or
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14, ‘The terms “referring”, "refer", “relate” or "relating to", as used herein, shall mean

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Case 1:02-cv-03965-BSJ-KNF Document 69-2 Filed 06/06/05 Page 15 of 19

describing, explaining, summarizing, analyzing, projecting, referring or pertaining to or having any
direct or indirect connection with.

INSTRUCTIONS

1. This Subpoena covers all information in your possession, custody and contro]
including, but not limited to, information in the possession of its past and present officers,
employees, agents, servants, atlorneys or other persons direcily or indirectly employed or retained
by them, or anyone else acting on its behalf or otherwise subject to their control and any merged,
conscliduted or acquired predecessor or successor, parcnt, subsidiary, division or affiliate.

2, Documents submited pursuant to this Subpoena should be grouped and labeled
according to the individual paragraph(s) of the document request to which the documents respond.
ifany document is responsive io more than one paragraph, you may provide a single copy indicating
the paragraphs to which it is responsive in lieu of providing multiple copies.

3. Documents are to be produced in full unexpurgated form. Redactions and deletions
should be clearly indicated as such, Where anything has been redacted or deleted from a document
produced in response to this Subpoena:

(a) specify the nature of the material deleted;
(b) specify the reason for the deletion; and
(¢) identify the person responsible for the deletion.

4, ‘The singular and the masculine as used herein shall be construed as the plural of the

feminine (or neuter), respectively, as the circumstances and context make appropriate in order to

provide the fullest possible answer to each subpoena demand.
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5. The disjunctive, "or", shall be read as the conjunctive, "and", and vice versa, in order
to provide the fullest possible response to each request.

6, Each subpart of a request shall be answered with the same force and effect as if it
were a subpoena demand.

7. If you are unable to identify or produce any documents because said documents have
been lost or destroyed, set forth a description of the document to the fullest extent possible and state
the date of its loss or destruction, the persons responsible therefor and the reasons therefor.

8. Whenever you are unable to produce documents in response to a request, state the
steps taken to locate responsive documents.

9, If a claim of privilege is asserted as to the production of any document or portion
thereof or to disclosing any information contained therein, please (1) identity such mformation or
document with sufficient particularity so as to allow this matter to be brought before the court for
resolution if necessary; (2} state the nature of the privilege(s) asserted; and (3) state in detail the
underlying factual basis for the claim of privilege. You must state:

(i) the title of the document;

(ii) the nature and type of the document;

(iii) the general subject matter of the document;

(iv) the date of the document,

(v) the author or sender and addressee of the document; and
(vi) the name of each person to whom the original or a copy was

shown or cirenlated, including the names appearing or any
circulation list relating to the documents.
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10. To the extent that you consider any of the following subpoena demands objectionable,
produce documents responsive to answer so much of each demand, and each part thereof as is not
objectionable, in your view, and separately state that part of each demand as to which you raise
objection and each ground for each such objection, This instruction does not, however, alter your
time to object as set forth in the Federal Rules.

11.  WHany document requested is no longer in your possession, custody or contral, state:

(a) what was done with the document;
(b) when the document was made;
(c) the identify and address of the current custodian of the document;

(d) the person(s) whe made the decision to transfer or dispose of the
document; and

(e) the reasons for the transfer or disposition.

12, Unless otherwise expressly stated, documents are to be produced which are dated,
created during or refer to the period January 1, 2000 to date.

13. This Subpoena is continuing in nature. [fany responsive document is obtained after
the date of your response to this Subpoena, it is to be promptly furnished to the undersigned pursuant
to this Subpoena within ten (10) days after discovery, but in no event tess than thirty (30) days before
the trial of this action.

DOCUMENTS TO BE PRODUCED

1. Alf documents in your possession, custody, or control, including notes and
memoranda, referring or relating to conversations or meetings between you and (1) Campinas

Foundation (a/k/a Campinas Stiftung, Vaduz), (2) Jerrold Rosen, (3) Jeffrey Wild, Esq., (“Wild”),
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Cindy Salvo, Bed. (“Salvo”) or any representative of Lowenstein & Sandler, PC. (“Lowenstein”),
(4) Carl Simoni, () Karen Meyers, Charles Kessler or (7) or any attorney for any of the above
concerning (i) the arbitration between AIS Lid and Aviation Investors International Group, Ltd.
(“ATG”) ef al and/or (the “Arbitralion”) (AAA Case No, S07 1B] 0039900) or (ii) the subject matter

of this action, including, but not limited to, (a) SSP, (b} Redwood, (c) Redwood’s claim for payment

of the balance of its shareholder buyout, (d) the purpose of the payments by Campinas to SSP in
September, 2000, (¢) any representations by Simoni and/or Karen Meyers to Lensi concerning the
payments by Campinas to SSP, or (f) the assignment of claims by AIIG ta Campinas.

2. All documents in your possession, custody or control sent by you or received by
you from any person other than AUG, Blackbird, Alberto Lensi or Heidi Eckes-Chantré or any parent
or subsidiary of either concerning (i) the Arbitration and/or (ii) the subject matter of this action,
including, but not limited to, the subjects listed in (a) - (f) above.

3, All documents in your possession, custody or control sent by you or received by
you from any person conceming (i) the Arbitration of which Rosen, Wild, Salvo, Lowenstein,
Simoni, Kessler or Meyers or any representative of or attorney for Campinas is the author, signatory,
recipient or carbon addressee and/or (ii) the subject matter of this action, including, but not limited
to, the subjects listed in (a) - (f) above of which Rosen, Wild, Salvo, Lowenstein, Simoni, Kessler
or Meyers or any representative of or attorney for Campinas is the author, signatory, recipient or
carbon addressee.

4. All documents subpoenaed by Lowenstein & Sandler, P.C. in this action.

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Dated: Garden City, New York
October 20, 2003
MORITT HOCK HAMROFF & HOROWITZ LLP
Attorneys for Defendants

By: Abe A fi ae

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